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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  WINDY LUCIUS,

          Plaintiff,

  v.

  BAIRES HOLDINGS, LLC

          Defendant.
                                                                  /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff Windy Lucius (“Plaintiff”) hereby sues Defendant Baires Holdings, LLC

  (“Defendant”), a foreign limited liability company doing business in Florida, for Injunctive Relief,

  attorney’s fees, litigation expenses and costs pursuant to Title III of the Americans with Disabilities

  Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member

  of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the regulations implementing the

  ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is substantially
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  limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

  §36.105(b)(2).

           4.      Plaintiff uses the internet and a mobile device to help her navigate a world of goods,

  products and services like the sighted. The internet, websites and mobile applications provide her

  a window into the world that she would not otherwise have. She brings this action against

  Defendant for offering and maintaining a mobile website (software that is intended to run on

  mobile devises such as phones or tablet computers) that is not fully accessible and independently

  usable by visually impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver

  software to read computer materials and/or access and comprehend internet mobile website

  information which is specifically designed for the visually impaired.

           5.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their mobile websites are in compliance with the

  ADA.

           6.      On information and belief, Defendant is the owner and operator of the

  https://www.bairesgrill.com website and mobile website for Baires Grill brand restaurants. Baires

  Grill as a trendy South Florida restaurant chain which specializes in Argentinian style cuisine.

  Each Baires Grill brand restaurant is owned and operated by a separate company which have a

  commonality of officers, directors and/or resident agents. On information and belief, Defendant

  is a brother/sister corporation to the corporate entities which own and operate the five Baires Grill

  brand restaurants which are:

      i.   Baires Sunny Isles, LLC - which is the operator of the Baires Grill restaurant located at

           18090 Collins Avenue, Sunny Isles Beach, Florida 33160;




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     ii.   Baires Brickell, LLC - which is the operator of the Baires Grill restaurant located at 1010

           S Miami Avenue, Miami, Florida 33130;

    iii.   Buenos Aires Coral Gables, LLC - which is the operator of the Baires Grill restaurant

           located at 180 Aragon Avenue, Coral Gables, Florida 33134;

    iv. Buenos Aires Miami Beach, LLC - which is the operator of the Baires Grill restaurant

           located at 2200 Collins Avenue, Miami Beach, Florida 33139; and

     v.    Baires Weston, LLC - which is the operator of the Baires Grill restaurant located at 2210

           Weston Road, Weston, Florida 33326.

  All five Baires Grill restaurant locations are listed within Defendant’s https://www.bairesgrill.com

  mobile website.

           7.     Four of the five Baires Grill brand restaurants are located within Miami-Dade

  County and one is located in Broward County (Baires Weston). As each Baires Grill restaurant is

  open to the public, each is a Place of Public Accommodation subject to the requirements of Title

  III of the ADA and its implementing regulation defined by 42 U.S.C. §12181(7)(B), §12182, and

  28 C.F.R. §36.104(2). The five Baires Grill restaurants are also referenced throughout as “place(s)

  of public accommodation,” “Baires Grill restaurant(s),” or “restaurant(s).”

           8.     Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, the https://www.bairesgrill.com mobile website (hereinafter “mobile website”) for the

  general public to access on their mobile devices (phones, tablets). This mobile website supports,

  is an extension of, is in conjunction with, is complementary and supplemental to, Baires Grill

  restaurants. The mobile website delineates the goods, services, accommodations, privileges,

  benefits and facilities available to patrons at each of the five Baires Grill restaurant physical

  locations.




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           9.       The mobile website offered by Defendant as a way for the public to become familiar

  with the five Baires Grill restaurant locations, hours of operation and menu selections based on

  each of the five restaurant locations. The mobile website also provides a link to reserve a table for

  dining within each restaurant location and also provides the public to log into the loyalty rewards

  program for dining at the five restaurant locations. The mobile website enables the public/patrons

  to place an order online at each of the five locations and have the order ready for pick up at the

  respective restaurant. In addition, the mobile website offers the general public the ability to inquire

  and set a private dining event and other information the Defendant seeks to communicate to the

  public. By the provision of menu selection, reservation services, loyalty program management,

  private event inquiry, and to-go order selection and option, the mobile website is an integral part

  of the goods and services offered by Defendant. By this nexus, the mobile website is characterized

  as a Place of Public Accommodation to Title III of the ADA1, 42 U.S.C. §12181(7)(B).

           10.      As the owner of the mobile website which is a Place of Public Accommodation,

  Defendant is defined as a “Public Accommodation" within meaning of Title III under 42 U.S.C.

  §12181(7)(B) and 28 C.F.R. §36.104(2).

           11.      Defendant’s mobile website allows mobile device users to use a mobile platform

  through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

  their mobile device. As such, it has subjected itself to the ADA because its mobile website is

  offered as a tool to promote, advertise and sell its products and services from its five affiliated

  Baires Grill restaurant locations (places of public accommodation). As a result, Defendant’s


  1
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.


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  mobile website must interact with its restaurant and the public, and in doing so must comply with

  the ADA, which means it must not discriminate against individuals with disabilities and may not

  deny full and equal enjoyment of the goods and services afforded to the general public. 2

          12.      Defendant’s mobile website does not properly interact with the VoiceOver screen

  reader software technology in a manner that allows blind and visually impaired individuals to

  comprehend the mobile website and does not provide other means to accommodate blind and

  visually impaired individuals.

          13.      Like the seeing community, Plaintiff would like the opportunity to be able to use

  Defendant’s mobile website to comprehend the Baires Grill restaurant menu selections, make

  reservations to dine in the five Baires Grill restaurant locations, sign up and manage the Baires

  Grill loyalty program, inquire into private events, and to order food online for pick up at the various

  restaurant locations. However, unless Defendant is required to eliminate the access barriers at issue

  and required to change its policies so that access barriers do not reoccur, Plaintiff will continue to

  be denied full and equal access to the mobile website as described and will be deterred from fully

  using Defendant’s mobile website or dining at any of the five Baires Grill restaurant locations.

          14.      Plaintiff is continuously aware of the violations on Defendant’s mobile website and

  is aware that it would be a futile gesture to attempt to utilize the mobile website as long as those

  violations exist unless she is willing to suffer additional discrimination.

          15.      Defendant and alike restaurants are fully aware of the need to provide full access

  to all visitors to its mobile website as such barriers result in discriminatory and unequal treatment

  of individuals with disabilities who are visually impaired and result in punishment and isolation



  2
   According to Statista, almost half of web traffic in the United States originated form mobile devices in 2021.
  Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
  website and provided accessibility for blind users.


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  of blind and low vision individuals from the rest of society.

          16.    Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is her only means to secure adequate redress from Defendant’s

  discriminatory practice.

          17.    Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          18.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR §36.505.

                    COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          19.    The ADA and implementation of ADAAG requires that Public Accommodations

  (and Places of Public Accommodation) are required to ensure that communication is effective,

  which includes the provision of auxiliary aids and services for such purpose.

          20.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

  making visually delivered material available to individuals who are blind or have low vision.

          21.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect




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  the privacy and independence of the individual with a disability.”

         22.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         23.     Defendant’s mobile website has been designed to integrate with the five Baires

  Grill brick-and-mortar restaurants through provision of a reservation service, the ability to inquire

  as to private events and loyalty reward program, and the provision of a to-go order menu; therefore,

  the mobile website is an extension of Baires Grill restaurant Places of Public Accommodation. By

  and through its mobile website, Defendant extends Baires Grill restaurants into individual persons'

  homes and portable devices wherever located. The mobile website is a service, facility, privilege,

  advantage, benefit and accommodation of Baires Grill restaurants. As such, Defendant’s mobile

  website is integrated with, and is a nexus to, Baires Grill brick-and-mortar locations. Therefore,

  it is governed by the following provisions:

                 a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”




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                  c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications




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  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                 h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

          24.    Plaintiff attempted to access and/or utilize Defendant's mobile website to test it for

  compliance with the ADA, but was unable to, and she continues to be unable to enjoy full and

  equal access to the mobile website and/or understand the content therein because numerous

  portions of the mobile website do not interface with mobile VoiceOver screen reader software.

  Specifically, features of the mobile website that are inaccessible to VoiceOver screen reader

  software users include, but are not limited to, the following (citing the WCAG 2.1 Level A and

  AA Guidelines):

     i.   Guideline 1.1.1 Non-Text Content is violated. The carousel content is only available as an
          image and the content is not announced to mobile VoiceOver screen reader software users.
          For example, the “Book Your Table” slide content is announced as "Text Book Dot P N G
          Image."

    ii.   Guideline 1.3.1 Info and Relationships is violated. Accessibility issues are present in the
          menu section of the mobile website and the six icons in the reservation form are incorrectly
          announced. For example, an 'arrow' is shown next to each field to indicate that the field is
          a “button” which must be expanded, but the buttons are not labeled properly. Each is
          announced as only "m" which does not relay to the mobile VoiceOver screen reader
          software user the purpose, role, or state for any of the buttons.

   iii.   Guideline 1.3.2 Meaningful Sequence is violated. Content must be presented in a
          meaningful order, and this is violated. For example, each menu item is announced as a
          link. When a mobile VoiceOver screen reader software user double taps on one of the food
          items in the menu, then the page auto scrolls to the top and nothing is announced. Mobile
          VoiceOver screen reader software users do not hear additional information about the dish


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          item so it appears that the link is not working.

   iv.    Guideline 2.4.6 Headings and Labels is violated. Mobile VoiceOver screen reader software
          users are taken to a third party website when a user presses the “Order Online” button. The
          Back button is shown at the top of the page so a mobile VoiceOver screen reader software
          user can return to the Baires Grill mobile website, but this button is not labeled. While the
          button is announced as "image”, mobile VoiceOver screen reader software users do not
          know to “tap” the image in order to return to the Baires Grill mobile website.

    v.    Guideline 2.4.4 Link purpose (in context) is violated. For example, the social media links
          all have the same label "baires grill link," and they are announced at the very start of the
          mobile website. If a mobile VoiceOver screen reader software user clicks any of these
          links, they are taken to a third party website without notice

   vi.    Guideline 3.3.1 Error identification is violated. The mobile website should suggest fixes
          when mobile VoiceOver screen reader software users make errors, but this is not the case.
          Error messages aren't announced and focus doesn't move to them when they are displayed.
          For example, an error message is displayed at the top of the “Login” form after mobile
          VoiceOver screen reader software users press the Login button, but the message is not
          announced, and focus moves to the content beneath the Login button so mobile VoiceOver
          screen reader software users are not aware that errors are present.

   vii.   Guideline 4.1.2 Name, Role, Value is violated. All elements must be built for accessibility
          and this is not the case. An accessibility widget is announced, but it does not open. Each
          time Mobile VoiceOver screen reader software users swipe to the Accessibility button on a
          mobile device and double tap, no new information is shown or announced. The widget does
          not open on mobile devices, and Mobile VoiceOver screen reader software users are not
          able to activate it or select any options that may be within it.


          25.    As the owner and/or operator of the Baires Grill restaurant mobile website,

  Defendant is required to comply with the ADA and the provisions cited above. This includes

  Defendant’s obligation to create and maintain a mobile website that is accessible to and usable by

  visually impaired persons so that they can enjoy full and equal access to the mobile website and

  the content therein, including the ability to make a reservation to dine within the five Baires Grill

  restaurant locations and order food online.

          26.    With respect to its mobile website, Defendant has violated the ADA by failing to

  interface its mobile website with VoiceOver screen reader software utilized by visually impaired




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  individuals (as specifically delineated within paragraph 24) either directly or through contractual,

  licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

  Plaintiff accommodation on the basis of her disability:

                 a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

  12182(b)(1)(A)(i));

                 c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals (unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the

  disabled individual (42 U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));




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                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

         27.     Plaintiff is continuously aware of the violations within Defendant's mobile website

  and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

  those violations exist unless she is willing to suffer additional discrimination.

         28.     Plaintiff is well aware that the ADA requires effective communications. However,

  long after the required date of compliance, many public accommodations refuse to comply leaving

  Plaintiff feeling excluded and rejected because she is disabled. As a result, Plaintiff has suffered

  frustration and humiliation as the result of the discriminatory conditions present within Defendant's

  mobile website. By continuing to operate its mobile website with discriminatory conditions,

  Defendant contributes to Plaintiff's sense of isolation and segregation and deprives Plaintiff the

  full and equal enjoyment of the goods, services, facilities, privileges and/or accommodations

  available to the general public. By encountering the discriminatory conditions within Defendant's

  mobile website and knowing that it would be a futile gesture to attempt to utilize the mobile




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  website unless she is willing to endure additional discrimination, Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same accommodations readily available to

  the general public and is deterred and discouraged from doing so. By maintaining a mobile website

  with violations, Defendant deprives Plaintiff the equality of opportunity offered to the general

  public.

            29.   Plaintiff has suffered direct and indirect injury as a result of Defendant’s

  discrimination until Defendant is compelled to comply with the requirements of the ADA and

  conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

            30.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

  reasonable grounds to believe that she will continue to be subjected to discrimination in violation

  of the ADA by Defendant when she visits the website to test for compliance with the ADA.

  Plaintiff desires to access the mobile website to avail herself of the benefits, advantages, goods

  and services therein, and/or to assure herself that this mobile website is in compliance with the

  ADA so that she and others similarly situated will have full and equal enjoyment of the mobile

  website without fear of discrimination.

            31.   Plaintiff is without adequate remedy at law and has suffered irreparable harm. The

  Plaintiff and all others similarly situated will continue to suffer such discrimination, injury and

  damage without the immediate relief as requested herein.

            32.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require Defendant to alter its mobile website to make it

  readily accessible to and usable by Plaintiff and other persons with vision impairments.

            WHEREFORE, Plaintiff Windy Lucius hereby demands judgment against Defendant




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  Baires Holdings, LLC and requests the following injunctive and declaratory relief:

         a.      The Court issue a Declaratory Judgment that determines that Defendant's mobile

                 website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                 § 12181 et seq.;

         b.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                 failing to monitor and maintain its mobile website to ensure that it is readily

                 accessible to and usable by persons with vision impairment;

         c.      The Court issue an Order directing Defendant to alter its mobile website to make it

                 accessible to, and useable by, individuals with disabilities to the full extent required

                 by Title III of the ADA;

         d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                 such that individuals with visual impairments will be able to effectively

                 communicate with the mobile website for purposes of comprehending Blairs Grill

                 menu selections, making reservations, ordering food online, inquiring about private

                 events and the Blairs Grill loyalty rewards program, and during that time period

                 prior to the mobile website’s being designed to permit individuals with visual

                 impairments to effectively communicate, requiring Defendant to provide an

                 alternative method for individuals with visual impairments to effectively

                 communicate so that disabled individuals are not impeded from obtaining the goods

                 and services made available to the public through its mobile website.

         e.      The Court enter an Order directing Defendant to evaluate and neutralize its policies

                 and procedures towards persons with disabilities for such reasonable time so as to

                 allow Defendant to undertake and complete corrective procedures;




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         f.     The Court enter an Order directing Defendant to continually update and maintain

                its mobile website to ensure that it remains fully accessible to and usable by visually

                impaired individuals;

         g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

                U.S.C. § 12205; and,

         h.     The Court provide such other relief as the Court deems just and proper, and/or is

                allowable under Title III of the Americans with Disabilities Act.


  Dated: April 4, 2022
                                               Respectfully submitted,

                                               /s/ J. Courtney Cunningham
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